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      Joseph R. Manning, Jr. (SBN 223381)
  1   DisabilityRights@manninglawoffice.com
  2   MANNING LAW, APC
      20062 SW Birch Street
  3   Newport Beach, CA 92660
      Tel: 949.200.8755
  4   Fax: 866.843.8308

  5   Attorneys for Plaintiff
      ANTHONY BOUYER
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  7
                           UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9
 10
          ANTHONY BOUYER, an               Case No.: 2:20-cv-06881-JWH-JC
 11       individual,
 12                                        Hon. John W. Holcomb
          Plaintiff,
 13                                        NOTICE OF VOLUNTARY
 14       v.                               DISMISSAL WITH PREJUDICE
                                           PURSUANT TO FEDERAL RULE OF
 15       WOODLAND HILLS                   CIVIL PROCEDURE 41(a)(1)(A)(i)
 16       SQUARE, LLC, a California
          limited liability company; and   Complaint Filed: July 31, 2020
 17       DOES 1-10, inclusive,            Trial Date: None
 18
          Defendants.
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                       NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 2:20-cv-06881-JWH-JC Document 14 Filed 10/20/20 Page 2 of 2 Page ID #:119

  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  3   Plaintiff Anthony Bouyer (“Plaintiff”) requests that this Court enter a dismissal
  4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
  5   Each party shall bear his or its own costs and attorneys’ expenses.
  6
  7                                          Respectfully submitted,
  8
  9    DATED : October 20, 2020              MANNING LAW, APC

 10                                          By: /s/ Joseph R. Manning, Jr.
                                               Joseph R. Manning, Jr.
 11
                                               Attorney for Plaintiff
 12                                            Anthony Bouyer
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                     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
